915 F.2d 1564Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger L. CRAWFORD, Plaintiff-Appellant,andUnited States of America, ex rel, Plaintiff,v.WEST VIRGINIA SUPREME COURT OF APPEALS, District Court ofSummers County, Defendants-Appellees.
    No. 90-3099.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 28, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Beckley.  Charles H. Haden, II, Chief District Judge.  (CA-90-429-5)
      Roger L. Crawford, appellant pro se.
      S.D.W.Va.
      DISMISSED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Roger L. Crawford noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.*   We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         Crawford's "petition for relief of judgment order" was filed 21 days after judgment was entered and did not toll the 30-day appeal period in Fed.R.App.P. 4(a).   See Dove v. CODESCO, 569 F.2d 807 (4th Cir.1978)
      
    
    